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                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                       GAINESVILLE DIVISION

 JANE DOE,

        Plaintiff,                                   Civil Action File No.
                                                     2:24-cv-00036-RWS-JCF
 v.

 CAMERON CHEEKS,

        Defendant.

                     NOTICE OF WITHDRAWAL OF COUNSEL

      COMES NOW Terry L. Long, counsel for defendant, CAMERON CHEEKS, and

files this Notice of Withdrawal as Counsel. This withdrawal is due to counsel’s departure

from Lawson & Reid, LLC.

      Defendant Cheeks will not be prejudiced by Ms. Long’s withdrawal as he will

continue to be represented by Charles E. Cox, Jr. of Charles E. Cox, Jr., LLC who has

entered an appearance as defendant’s counsel of record.

      Respectfully submitted this 24th day of April, 2024.

                                         LAWSON & REID, LLC

                                         /s/ Terry L. Long
                                         TERRY L. LONG
                                         Georgia Bar No. 457460
                                         Counsel for Defendant Cameron Cheeks

602 E. 16th Avenue, Suite D
Cordele, Georgia 31015
Phone: (229) 273-4040
terry.long@lawsonreidlaw.com
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                             CERTIFICATE OF SERVICE

       This is to certify that I have this day served a true copy of the within and foregoing

NOTICE OF WITHDRAWAL OF COUNSEL upon counsel of record with the clerk of

court using the CM/ECF system which will automatically send email notification of such

filing to the following:

             Jeff Filipovits                             Charles E. Cox, Jr.
            Wingo F. Smith                             Charles E. Cox, Jr., LLC
    SPEARS & FILIPOVITS, LLC                             Post Office Box 67
  315 W. Ponce de Leon Ave., Ste. 865                   Macon, Georgia 31202
       Decatur, Georgia 30030                           charles@cecoxjr.com
         jeff@civil-rights.law                         Counsel for Defendant
       wingo@civil-rights.law
         Counsel for Plaintiff

This 24th day of April, 2024.

                                          LAWSON & REID, LLC

                                          /s/ Terry L. Long
                                          TERRY L. LONG
                                          Georgia Bar No. 457460
                                          Counsel for Defendant Cameron Cheeks

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